
705 S.E.2d 364 (2010)
Tareek DUBOSE
v.
N.C. DEPARTMENT OF CORRECTION.
No. 344P10.
Supreme Court of North Carolina.
December 15, 2010.
Melody R. Hairston, Assistant Attorney General, for N.C. Department of Correction.
Samuel A. Scudder, Raleigh, for Dubose, Tareek.

ORDER
Upon consideration of the petition filed on the 10th of August 2010 by Plaintiff in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 15th of December 2010."
HUDSON, J. recused.
